Case 1:18-cv-00756-JTN-ESC ECF No. 1, PagelD.1 Filed 04/10/18 Page 1 of 21
NIED/ProSe 14 (Rev 5/16) Complaint for Violation of Civil Rights (Prisoner Complaint)
\o IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF MICHIGAN

 

Bn Case:2:18-cv-11144

“ROSS MACLIN # 1480840 °° - >. Sudge: Goldsmith, Mark A.
oo MJ: Grand, David R.

Filed: 04-10-2018 At 04:45 PM

(Write the full h plaintiff who is fil PR MACLIN V. HOLMES (NA)
rite the full name af eac p aintiff who is filing this. . Jp?
complaint. If the names of all the Plaintiffs cannot fit in (to be fi lled in by the Clerk's Office)
the space above, please write “see attached” in the space

and attach an additional page with the full list of names.) Jury Trial: Yes [| No

v. wo oe (check one)

SCOTT HOLMES

(Write the full name of each defendant who is being sued. If
the names of all the defendants cannot fit in the space above,
please write “see attached” in the space and attach an
additional page with the full list of names. Do not include
addresses here.)

 

 

Complaint for Violation of Civil Rights
(Prisoner Complaint)

 

NOTICE

Federal Rules of Civil Procedure 5.2 addresses the privacy and security concerns resulting from public access
to electronic court files. Under this rule, papers filed with the court should not contain: an individual’s full
social security number or full birth date; the full name of a person known to be a minor; or a complete financial
* account number. A filing may include only: the last four digits of a social security number; the year of an
_ | individual’s birth; a minor’s initials; and the last four digits of a financial account number.

Except as noted in this form, plaintiff need not send exhibits, affidavits, grievance or witness statements,
or any other materials to the. Clerk’s Office with this complaint. -

In order for your complaint to be filed, it must be accompanied by the filing fee or an application to
proceed i in n forma pauperis. °

 

 

 
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MIED ProSe 14 (Rev 5/16) Complaint for Violation of Civil Rights (Prisoner Complaint)

I. The Parties to This Complaint

A. The Plaintiff(s)

Provide the information below for each plaintiff named in the complaint. Attach
additional pages if needed.

~ ROSS MACLIN
Name

 

All other names by which you have been known: Rossi Maclin
Leonard Davis

 

 

 

 

4BOB4
ID Number 1
Current Institution CARSON CITY CORRECTIONAL FACILITY
Address 10274 Boyer Road

 

Carson City, Michigan 48811

 

B. The Defendant(s)

Provide the information below for each,defendant named in the complaint, whether the
defendant is an individual, a government agency, an organization, or a corporation.
Make sure that the defendant(s) listed below are identical to those contained in the
above caption. For an individual defendant, include the person’s job or title (if known)
and check whether you are bringing this complaint against them in their individual
capacity or official capacity, or both. Attach additional pages if needed.

Defendant No. 1
Scott Holmes

 

 

 

 

 

 

Name

Job or Title Medical Doctor

(if known)

Shield Number

Employer Corizon Prison Medical Services

Address 10274 Boyer Road Carson City Facility
Carson City, Michigan 488611

Individual capacity Ri Official capacity
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Defendant No. 2

Name

Job or Title
(if known)

Shield Number
Employer
Address

 

 

 

 

 

 

[.] Individual capacity [.] Official capacity

Defendant No. 3

Name

Job or Title
(if known)

Shield Number
Employer
Address

 

 

 

 

 

 

[] Individual capacity [] Official capacity

Defendant No. 4

Name

Job or Title
(af known)

Shield Number
Employer
Address

 

 

 

 

 

 

[_] Individual capacity [-] Official capacity
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Il. Basis for Jurisdiction

Under 42 U.S.C. § 1983, you may sue state or local officials for the “deprivation of any rights,
privileges, or immunities secured by the Constitution and [federal laws].” Under Bivens v. Six
Unknown Named Agents of Federal Bureau of Narcotics, 403 U.S. 388 (1971), you may sue
federal officials for the violation of certain constitutional rights.

A. Are you bringing suit against (check all that apply):

L] Federal officials (a Bivens claim)
x State or local officials (a § 1983 claim)

B. Section 1983 allows claims alleging the “deprivation of any rights, privileges, or
immunities secured by the Constitution and [federal laws].” 42 U.S.C. § 1983. If you
are suing under section 1983, what federal constitutional or statutory right(s) do you
claim is/are being violated by state or local officials?

Violation of 1st Amendment Rights Constitutional Rights

Violation of my 8th Amendment Rights To Be Free From Cruel And
Unusual Punishment For Filing Complaints

C. Plaintiffs suing under Bivens may only recover for the violation of certain constitutional
rights. If you are suing under Bivens, what constitutional right(s) do you claim is/are
being violated by federal officials?
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D. Section 1983 allows defendants to be found liable only when they have acted “under
color of any statute, ordinance, regulation, custom, or usage, of any State or Territory or
the District of Columbia.” 42 U.S.C. § 1983. If you are suing under section 1983,
explain how each defendant acted under color of state or local law. If you are suing
under Bivens, explain how each defendant acted under color of federal law. Attach

additional pages if needed.

he deprived and refused to t i
reat Plaintiff in retaliation of Plai i
filing of grievance against him. As a result of no treatment rainti te

Plaintiff endured cruel and i
under color on eves law unusual punishment by Dr. Holmes actions

Ill. Prisoner Status

Indicate whether you are a prisoner or other confined person as follows (check all that apply):

Pretrial detainee

Civilly committed detainee

Immigration detainee

Convicted and sentenced state prisoner
Convicted and sentenced federal prisoner

Other (explain)

OO KOO

 

IV. Statement of Claim

State as briefly as possible the facts of your case. Describe how each defendant was personally
involved in the alleged wrongful action, along with the dates and locations of all relevant

events. You may wish to include further details such as the names of other persons involved in
the events giving rise to your claims. Do not cite any cases or statutes. If more than one claim
is asserted, number each claim and write a short and plain statement of each claim in a separate

paragraph. Attach additional pages if needed.
i

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A. If the events giving rise to your claim arose outside an institution, describe where and
when they arose.

B. If the events giving rise to your claim arose in an institution, describe where and when
they arose.

Carson City Correctional Facility October 19, 2017

10274 Boyer Road, Carson City, Mich 48811

C. What date and approximate time did the events giving rise to your claim(s) occur?
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MIED ProSe 14 (Rev 5/16) Complaint for Violation of Civil Rights (Prisoner Complaint)

D. What are the facts underlying your claim(s)? (For example:. What ha ened to you?
Who did what? Was anyone else involved? Who else saw what happened?) me

Several years Plaintiff was diagnosed with vertigo and suspected
Mieners Disease. For over the past 4&4 years Plaintiff was receiving
Antivert to combat his severe vertigo condition. Plaintiff filed.a
formal complaint and medical complaint against Dr. Holmes for failure
to treat Plaintiff. On 10-19-17 during an interview with Dr. Holmes
Plaintiff asked Dr. Holmes why did he take away his Antivert
medication. Dr. Holmes responded: "You just don't get it da you. IT
know about the medical kites and complaints you sent to my supervisor
and the Warden saying I'm causing your pain and suffering. I see you
didn't learn your lessan when N.P. Wilson cut your meds. I read your
chart." I then asked Dr. Holmes what's that got to do with you
cutting my meds. Dr. Holmes responded: "You really are deaf. Nid you
hear a word I said; let’ me make this clear to you. You file grievances
peeinat, lawsuits or complaints against me or my colleagues at
Corizon, you don't get nothing. I'm not Dr. Kilaru. As long as I'm
the doctor here, for filing those complaints and medical kites against
me I'm taking your Antivert for good. Now sue me you sntich. Prisoner

Brown overheard Dr. Holmes call me a snicth.
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V. Injuries

If you sustained injuries related to the events alleged above, describe your injuries and state
what medical treatment, if any, you required and did or did not receive.

I sustained extreme Vertigo, Dizziness, head and ear aches and
sleeplessness hased upon Dr. Holmes refusing to renew my Antivert
medication in retaliation of me filing complaints to the warden and
his supervisor. I also suffered these conditions because Dr. Halmes
refused to send me to a ear specialist for possible Mieners disease.

VI. Relief

State briefly what you want the court to do for you. Make no legal arguments. Do not cite any
cases or statutes. If requesting money damages, include the amounts of any actual damages
and/or punitive damages claimed for the acts alleged. Explain the basis for these claims.

Award Plaintiff $150,000 for Dr. Holmes Retaliation against Plaintiff
for filing a complaint against him to the prison warden and filing a
medical complaints to his supervisor.

Award Plaintiff $ 150,000 for Dr. Holmes intentional infliction of
pain and suffering against Plaintiff for filing grievances and
complaints.
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Vil.

Exhaustion of Administrative Remedies Administrative Procedures

The Prison Litigation Reform Act (“PLRA”), 42 U.S.C. § 1997e(a), requires that “[n]o action
shall be brought with respect to prison conditions under section 1983 of this title, or any other
Federal law, by a prisoner confined in any jail, prison, or other correctional facility until such
administrative remedies as are available are exhausted.”

Administrative remedies are also known as grievance procedures. Your case may be dismissed
if you have not exhausted your administrative remedies.

Did your claim(s) arise while you were confined in a jail, prison, or other correctional
facility?

| Yes
[| No

If yes, name the jail, prison, or other correctional facility where you were confined at
the time of the events giving rise to your claim(s).

Carson City Correctional Facility, 10274 Boyer Road
Carson City, Michigan 48811

Does the jail, prison, or other correctional facility where your claim(s) arose have a
grievance procedure?

i Yes
L] No -

[J Do not know

Does the grievance procedure at the jail, prison, or other correctional facility where
your claim(s) arose cover some or all of your claims?

[| Yes
[| No

kK] Do not know

If yes, which claim(s)?
t

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D. Did you file a grievance in the jail, prison, or other correctional facility where your
claim(s) arose concerning the facts relating to this complaint?

B Yes

[] No

If no, did you file a grievance about the events described in this complaint at any other
jail, prison, or other correctional facility?

[J Yes
[J No

E. If you did file a grievance:

1. Where did you file the grievance?

: Carson City Correctional Facility,

10274 Boyer Road, Carson City, Mich

2. What did you claim in your grievance?

Dr. Holmes denied me medical treatment and refused to treat
because I filed complaint to the warden and his medical
supervisor.

3. What was the result, if any?

The circumvented and ignored my claims and allowed me to
suffer while they coverup Dr. Holmes misconduct.

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4, What steps, if any, did you take to appeal that decision? Is the grievance
process completed? If not, explain why not. (Describe all efforts to appeal to
the highest level of the grievance process.)

I filed Step I, Step II & Step III Grievances. Completed
Grievance Process.

See Attached Grievances Exhaustion Step I thru III
Grievance I.D. # DRF 17 / 10 / 2794 that matches all three
Grievance Steps.

F, If you did not file a grievance:
1. If there are any reasons why you did not file a grievance, state them here:
2. If you did not file a grievance but you did inform officials of your claim, state

who you informed, when and how, and their response, if any:

G. Please set forth any additional information that is relevant to the exhaustion of your
administrative remedies.

(Note: You may attach as exhibits to this complaint any documents related to the
exhaustion of your administrative remedies.)

1]
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VIII. Previous Lawsuits

The “three strikes rule” bars a prisoner from bringing a civil action or an appeal in federal court
without paying the filing fee if that prisoner has “on three or more prior occasions, while
incarcerated or detained in any facility, brought an action or appeal in a court of the United
States that was dismissed on the grounds that it is frivolous, malicious, or fails to state a claim
upon which relief may be granted, unless the prisoner is under imminent danger of serious
physical injury.” 28 U.S.C. § 1915(g). -

To the best of your knowledge, have you had a case dismissed based on this “three strikes
rule”?

[ ] Yes
Xl No

If so, state which court dismissed your case, when this occurred, and attach a copy of the order
if possible.

A. Have you filed other lawsuits in state or federal court dealing with the same facts
involved in this action?

[| Yes
Kl No

B. If your answer to A is yes, describe each lawsuit by answering questions | through 7
below. (If there is more than one lawsuit, describe the additional lawsuits on another
page, using the same format.)

 

 

 

1. Parties to the previous lawsuit
Plaintiff(s)
Defendant(s)

2. Court (if federal court, name the district; if state court, name the county and
State)

3. Docket or index number

 

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MIED ProSe 14 (Rev 5/16) Complaint for Violation of Civil Rights (Prisoner Complaint)

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4, Name of Judge assigned to your case
5. Approximate date of filing lawsuit
6. Is the case still pending?

[ | Yes
[| No

If no, give the approximate date of disposition.

 

7. What was the result of the case? (For example: Was the case dismissed? Was

judgment entered in your favor? Was the case appealed?)

C. Have you filed other lawsuits in state or federal court otherwise relating to the

conditions of your imprisonment?

Ki Yes SEE ALSO ATTACHMENTS EXHIBITS

Ol No

D. If your answer to C is yes, describe each lawsuit by answering questions 1 through 7
below. (If there is more than one lawsuit, describe the additional lawsuits on another

page, using the same format.)

1. Parties to the previous lawsuit
Ross Maclin

Plaintiff(s)

 

Defendant(s) Kelly Holden & Richard Cady

 

2. Court (if federal court, name the district; if state court, name the county and

State)
Detroit, Wayne County

3. Docket or index number .
4&:12-cv-12480

Federal Court Eastern District of Michigan

 

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Ix.

4. Name of Judge assigned to your case
Gershwin Drain

 

 

5. Approximate date of filing lawsuit
June 20172
6. Is the case still pending?
Yes
No

If no, give the approximate date of disposition. OcTsbeR Lore

 

7. What was the result of the case? (For example: Was the case dismissed? Was
Judgment entered in your favor? Was the case appealed?)

Jury Verdict In Favor of Defedants

 

 

Certification and Closing

Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my
knowledge, information, and belief that this complaint: (1) is not being presented for an
improper purpose, such as to harass, cause unnecessary delay, or needlessly increase the cost of
litigation; (2) is supported by existing law or by a nonfrivolous argument for extending,
modifying, or reversing existing law; (3) the factual contentions have evidentiary support or, if
specifically so identified, will likely have evidentiary support after a reasonable opportunity for
further investigation or discovery; and (4) the complaint otherwise complies with the
requirements of Rule 11.

~-

A. For Parties Without an Attorney

I agree to provide the Clerk’s Office with any changes to my address where case-
related papers may be served. I understand that my failure to keep a current address on
file with the Clerk’s Office may result in the dismissal of my case.

Date of signing: Cobh L207 F
f }
Signature of Plaintiff Sha Noe x,

Printed Name of Plaintiff Aosin Sil A Ch nv
Prison Identification # _ f f§ Og Y
Prison Address _ /427 f , L. oy lk usd
C Ae see City ichigo YES 11

City State Zip Code

 

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MIED ProSe 14 (Rev 5/16) Complaint for Violation of Civil Rights (Prisoner Complaint)

Additional Information:

Previous Law Suits

Maclin v Wilson, Case No. 2:15-cv-00076 Honorable Robert H. Bell,
Transferred To Honorable Gordom Quist, Filed In 2015. Pending
Disposition: Settlement Agreement Discussions For Final Completion.

Attached Exhibits

A. Exhaustion of Step I grievance And Response

B. Exhaustion of Step ITI Grievance Appeal And Response.
Cc. Exhaustion af Step III Grievance Appeal And Response.
Attached Petition For Forma Pauperis Status

Prisoner Six Month Account Balance Statement

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EYMTATT al
ft ;

AN DEPARTMENT OF CORRECTIONS | 4835-4247 10/94
LONER/PAROLEE GRIEVANCE FORM CSJ-247A

Date Received at Step I / 0 [23] [ ] Grievance Identifier: Di Le I L0| (Zl 4 (| u iL D

 

Name (print first, last) Number Institution |Lock Number {Date of Incident Today’s Date
Maclinine. 148084 | OF 800-9-B_| 10-19-17] 10-19-17

 

What attempt did you make to resolve this issue prior to writing this grievance? On what date? _/@~ / Y-f7

If none, explain why.

On 10-19-17 I advised Dr. Holmes I was filing a grievance against him for denial
of medical treatment and retaliation, and asked if we could discuss this matter
or resolve it. Dr. Holmes responded" I don't negotiate with prisoners."

State problem clearly. Use separate grievance form for each issue. Additional pages, using plain paper, may be used.
Four copies of each page and supporting documents must be submitted with this form. The grievance must be submitted .
to the Grievance Coordinator in accordance with the time limits of OP 03.02.130.

Retaliation by Dr. Holmes. On 10-19-17, during a medical interview with
Dr. Holmes, I asked him why did he take away my Antivert medication I needed
for Vertdgo and Dizzy spells without even examining me or sending me to
an expert. Dr. Holmes responded: “you just don't get it do you. I know
about the medical kites and complaints you sent to my supervisor and the
warden saying I'm causing you pain & suffering. I see you didn't learn
your lesson when N.P. Wilson cut your meds. I read your chart." I asked
him what's that got to do with you taking my medication. Dr. Holmes stated:
"You really are deaf. Did you hear -a word I said; let me make this clear
to you. You file grievances, lawsuits or complaints against me or my
colleagues at Corizon, you don't get nothing. I'm not Dr. Kilury. As long
as I'm the doctor here, for filing those complaints and medical kites against
me I'm taking your Antivert for good. Now sue me you snitch." I have a
witness who over heard Dr. Hoimes' retaliatory threats. Dr. Holmes then
ordered me to leave his office and I complied and left. There were other

prisoners who heard him call me a snitch. A, .
eda (Vache: 14808 4

Grievant’s Signature

 

 

RESPONSE (Grievant Interviewed? x] ves LINo If No, give explanation. If resolved, explain resolution.)

At attached
K Sours Whala

 

 

 

 

 

 

 

 

L, (4p
Respon en Suey Date Reviewey’s Signature Date
Ke ‘Sheve RY | Litany ios vel
Respondent’ s Name ven. Working Title Reviewer’s Name (Print) Working Title
Date Returned to * If resolved at Step I, Grievant sign here.
pOrevant: Resolution must be described above. ~ Grievant's Signature Date z

 

 

 

DISTRIBUTION: White, Green, Canary, Pink — Process to Step One; Goldenrod — Grievant
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Step I Grievance Response Page ]

 

Grievant Number: 148084

 

Grievant Name: Maclin

 

 

Grievance Number: DRF1710279412D

 

 

 

WAS GRIEVANT INTERVIEWED?
YES (date and time): 11/9/17 0915

 

 

SUMMARY OF COMPLAINT: The grievant complains the Medical Provider (MP)
spoke inappropriately during his appointment on 10/19/17 and alleges the MP is
withholding medication from him in retaliation.

INVESTIGATION INFORMATION: Electronic Medical Record (EMR)
APPLICABLE POLICY/PROCEDURE: PD 03.04.100 Health Services

 

 

 

SUMMARY: The grievant, the MP, and staff present in the clinic on 10/19/17 were
interviewed and the EMR was reviewed. The EMR shows the grievant was evaluated by
the MP on 10/19/17 due to the grievant’s request to be reevaluated for use of Antivert.
The MP upheld his previous decision from the visit of 9/28/17 and again found no
medical indication to renew the Antivert. The MP states he did not say any of the
inappropriate things the grievant alleges and states his medical decision is not retaliatory
based. Staff present on 10/19/17 state they did not hear any such comments or any
inappropriate comments. During the interview with the grievant, he could not provide
any name of any witness to support his allegations. Upon review of above, it is found that
the grievant was appropriately evaluated and no evidence to support the grievant’s
allegations are found. The grievant is encouraged to re-access health care as needed.

 

 

RESPONDENT NAME: K. Stevens TITLE: RN-13
RESPONDENT SIGNATURE: K Muyews | DATE: 11/13/17
/

 

 

 

7

REVIEWER NAME: T. Lambart J TITLE: HUM

ff
REVIEWER SIGNATURE: ( Liz DATE: / Niu Wiz

 

 

 

 
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EXHTSTT

Step Ii Grievance Appeal Response

 

Grievance Number: DRF 2017 10 2794 12D
Prisoner Name: Maclin, Ross

Prisoner Number: 148084

_ [have reviewed your Step I Grievance, the Step I Response, and y your Step II Reason for Appeal.

 

 

 

 

 

SUMMARY OF STEP I COMPLAINT: The Grievant complains the Medical Provider (MP)
spoke inappropriately during his appointment on 10/19/17 and alleges the MP is withholding
medication from him to retaliation. Date of incident 10/19/17.

 

SUMMARY OF STEP I RESPONSE: The Grievant, the MP, and staff present in the clinic
on 10/19/17 were interviewed and the Electronic Health Records (EHR) was reviewed. The
EHR shows the Grievant was evaluated by the MP on 10/19/17 due to the Grievant’s request
to be reevaluated for use of Antivert. The MP upheld his previous decision from the visit of
9/28/17 and again found no medical indication to renew the Antivert. The MP states he did
not say any of the inappropriate things the Grievant alleges and states his medical decision is
not retaliatory based. Staff present on 10/19/17 state they did not hear any such comments or
any inappropriate comments. During the interview with the Grievant, he could not provide
any name of any witness to support his allegations. Upon review of above, it is found that the
grievant was appropriately evaluated and no evidence to support the Grievant’s allegations
are found. Date of response 11/13/17.

 

 

 

SUMMARY OF STEP II REASON FOR APPEAL: Grievant alleges I raise the same facts
and claims raised in Step I. Retaliation, denial of medical treatment in retaliation by Dr.
Holmes. Step I respondent also alleged witnesses were witnessed present but does not
identify them. I request the video camera to show that only I and Dr. Holmes were present
in the exam room and my witness was in the hall ways. Date of incident 10/19/17.

 

 

 

SUMMARY OF STEP IL INVESTIGATION: Upon investigation of the Step II appeal; the
Step I response, reason for appeal and review of the Electronic Health Record (EHR).
including any additional information needed was obtained as necessary to complete the |
response. Video is not retrieved at prisoner’s request. Antivert was ordered and the order is
current. °

Grievant is encouraged to access health care through the kite process to address any current
health care concerns and to constructively discuss his concerns with Health Care Staff at
scheduled appointments.

 

CONCLUSION: Evidence

* PD 03.02.130, Prisoner Grievances

* Policy 03.04.100 Health Services

* OP 03.04.100C, Pharmacy Services and Medication Management
Grievance Denied; Grievant’s allegations are not substantiated by the evidence. Review
of the evidence supports the Grievant’s health care needs are being appropriately
assessed, monitored and addressed as determined medically indicated.

 

RESPONDENT NAME: Subrina Aiken, RN - TITLE: Clinical Administrative Assistant -
mes , Jackson Health Care Office Administration

 

 

 

RESPONDENT SIGNATURE: Sabrina Hikon, AN DATE: 12/7/17

 

 

a7
vi

 
Case 148- -cv-00756- JTN- ESC ECF No. 1, PagelDi19: rFited 04/10/18 Ped 6"

SHPD NOV 20. 6-04 —
MICHIGAN DEPARTMENT OF CORRECTIONS 4835-4248 5/09
PRISONER/PAROLEE GRIEVANCE APPEAL FORM CSJ-2478

PRET 27.44 VaP|

t os - eT

Date Received by Grievance Coordinator Grievance Identifier:
at Step II: wy /7

 

INSTRUCTIONS: THIS. FORM IS ONLY TO BE USED TO APPEAL A STEP I GRIEVANCE.
The white copy of the Prisoner/Parolee Grievance Form CSJ-247A (or the goldenrod copy if you have not been provided
with a Step I response in a timely manner) MUST be attached to the white copy of this form if you appeal it at both Step

I] and Step Hi.

If vou should decide to 5 appeal the Step I grievance response to Step II, your, appeal should be directed tor” 2
GSC. o CR _ by { A- ole i. If it is not submitted by this date, it will be considered terminated.

If you should decide to appeal the response you receive at Step II, you should send your Step III Appeal to the Director's
Office, P.O. Box 30003, Lansing, Michigan, 48909.
“, - 4

 

Name (Print first, last) Number Institution Lock Number Date of Incident Today's Date
Aoss ae hie! 4808 “4 | DRF . | §00-9-B (0-191 (fee!
STEP II — Reason for Appeal” es “4

i RAISE THE SAME FACTS AND CLAIMS RAISED IN STEP f. RETALIATION, ° DENTAL: OF MEDICAL.
TREATMENT IN RETALIATION BY DR. HOIMES. STEP IT RESPONDENT ALSO ALLEGED WITNESSES WERE
WITNESSED PRESENT BUT DOES NOT IDENTIFY THEM. I REQUEST THE VIDEO. CAMERA TO ‘SHOW ‘THAT ON ly
T AND DR. HOLMES WERE PRESENT IN THE EXAM ROOM AND MY WITNESS WAS INE HALL WAYS.

 

 

 

 

 

 

 

 

 

STEP IT — Response me : . . Date Received by
, Step II Respondent:

 

 

 

 

Date Returned to
“Grievant:

 

 

 

Respondent's Name (Print) Respondent’s Signature Date

 

STEP III — Reason for Appeal Z Aa/ se The SARL Cleims SHTz A Un ote -it GRIGVAN CL
Dani Medical THLAIIENt Rota AT ON By Ok. Holmes. fee Spo na! divided A
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NOTE: Only a copy of this appeal and the response will be returned to yqu.

 

STEP III — Director's Response is attached as a separate sheet.

DISTRIBUTION: White - Process to Step III]; Green, Canary, Pink — Process to Step II; Goldenrod - Grievant
 
Case 1:18-cv-00756-JTN-ESC ECF No.1, PagelD.21 Filed 04/10/18 Page 21 of 21

CIVIL COVER SHEET FOR PRISONER CASES

 

Case No. _18-11144 Judge: _Mark A. Goldsmith Magistrate Judge: _David R. Grand

 

Name of 1* Listed Plaintiff/Petitioner:

ROSS MACLIN

Name of 1* Listed Defendant/Respondent:
SCOTT HOLMES

 

Inmate Number: 184084

 

Plaintiff/Petitioner’s Attorney and Address Information:

 

Correctional Facility:
Carson City Correctional Facility

10522 Boyer Road
Carson City, MI 48811
MONTCALM COUNTY

 

 

Additional Information:

 

 

BASIS OF JURISDICTION
2 U.S. Government Defendant
& 3 Federal Question

NATURE OF SUIT
{ 530 Habeas Corpus
i 540 Mandamus
i 550 Civil Rights
(C 555 Prison Conditions

ORIGIN
KE 1 Original Proceeding
( 5 Transferred from Another District Court
(- Other:

FEE STATUS
E IFP In Forma Pauperis
PD Paid

 

PURSUANT TO LOCAL RULE 83.11

1. Is this a case that has been previously dismissed?

 

 

[2 Yes kK No
> If yes, give the following information:
Court:
Case No:
Judge:

 

2. Other than stated above, are there any pending or previously discontinued or dismissed companion cases in this or any
other court, including state court? (Companion cases are matters in which it appears substantially similar evidence will
be offered or the same or related parties are present and the cases arise out of the same transaction or occurrence.)

 

 

[” Yes & No
> If yes, give the following information:
Court:
Case No:
Judge:

 

MIED (Rev. 07/06) Civil Cover Sheet for Prisoner Cases
